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             IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

GARTOR KIKI BROWN,                             No. 3:19-CV-00057

            Plaintiff,                         (Chief Judge Brann)

      v.

LT. GILDEA, et al.,

           Defendants.

                                  ORDER

     AND NOW, this 25th day of October 2021, in accordance with the

accompanying Memorandum, IT IS HEREBY ORDERED that:

     1.    Defendants’ motion for partial summary judgment (Doc. 86) is
           GRANTED.

     2.    Judgment shall be entered for all Defendants and against Plaintiff
           Gartor Kiki Brown on (1) Brown’s claim of state-law negligence and
           (2) Brown’s claim under 42 U.S.C. § 1983 of Fourteenth Amendment
           substantive due process violations.

     3.    Entry of judgment in accordance with the above paragraph is
           DEFERRED pending disposition of the remaining claims in this case.



                                         BY THE COURT:


                                         s/ Matthew W. Brann
                                         Matthew W. Brann
                                         Chief United States District Judge
